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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA,

                         Plaintiff,
                                                          CIVIL ACTION
       v.                                                 NO. 22-5209

AMERISOURCEBERGEN
CORPORATION, et al.,

                         Defendants.


                                          ORDER

      AND NOW, this 16th day of December 2024, it is ORDERED that the Clerk of

Court is DIRECTED to unseal the Memorandum of Law in Support of Motion to

Compel filed by AmerisourceBergen (ECF No. 84), Exhibit 2 to the Motion to Compel

filed by AmerisourceBergen (ECF No. 84-1), Exhibit 4 to the Motion to Compel filed by

AmerisourceBergen (ECF No. 84-2), the Response to Motion to Compel filed by United

States (ECF No. 86) and Exhibit 3 to the Response to Motion to Compel filed by United

States (ECF No. 86-1).

                                                BY THE COURT:



                                                /s/ Gerald J. Pappert
                                                Gerald J. Pappert, J.
